 

¥ Case 8:08-<v-002 ge Document 7 Filed 04/21/05 @: 1 OfWS. BESERECTZCOURT

 

 

 

 

 

 

 

NORTHERN DISTRICT OF TEXAS
K FILED
IN THE UNITED STATES DISTRICT COURT APR 2 | 2005
FOR THE NORTHERN DISTRICT OF THXAS
DALLAS DIVISION
CLERK, U.S. COURT
VERNON JONES, § By =
§
Plaintiff, § r
§
vs. ORIGIN AL § civiwacrionno. 3-0scv 0293K
§
AUTONATION, INC., §
BANKSTON AUTO, INC. and §
W.O. BANKSTON NISSAN, INC. d/b/a §
BANKSTON NISSAN DALLAS, §
§
Defendants. §

DEFENDANTS’ REPLY TO PLAINTIFF’S
RESPONSE TO DEFENDANTS’

MOTION TO COMPEL ARBITRATION

TO THE HONORABLE ED KINKEADE, U. S. DISTRICT JUDGE:
Defendants filed their Motion to Compel Arbitration And To Stay Litigation on March

23, 2005. The sole issue raised is whether Plaintiff must arbitrate his race and age discrimination
claims pursuant to the terms of the Arbitration Agreement he executed May 30, 2002. Because
Defendants’ Motion established that a written arbitration exists,' and that it covers Plaintiff’ s
race and age discrimination claims, the burden shifted to Plaintiff to show that Congress intended
to preclude a waiver of a judicial forum for his race and age discrimination claims. See Gilmer v.
Interstate/Johnson Lane Corporation, 500 U.S. 20, 26 (1991).

Plaintiff does not argue in Plaintiff's Motion To Stay Arbitration And Response To

Defendants’ Motion To Compel Arbitration And Stay Litigation that his race and age

 

' See Exhibit “A” to Defendants’ Motion to Compel.
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discrimination claims cannot be compelled to arbitration. Plaintiff could not make such an
argument because both his age and race claims clearly can be compelled to arbitration. See
Gilmer y. Interstate/Johnson Lane Corporation, 500 U.S. at 35 (holding that an age
discrimination claim brought under the ADEA may be compelled to arbitration); Rojas v. TK
Communications, Inc., 87 F.2d 745, 747 (5 Cir. 1996) (holding that Title VII discrimination
claims may be compelled to arbitration.). And Plaintiff makes no argument that his race and age
discrimination claims are not covered by the Arbitration Agreement. Rather, Plaintiff asks this
Court to ignore decisions of the Texas and United States Supreme Courts, and instead, to adopt
Plaintiff's outdated view that arbitration is somehow inferior to the judicial process for resolving
Plaintiff's race and age discrimination claims. The Court should reject Plaintiff's request.
THE ARBITRATION AGREEMENT IS VALID AND ENFORCEABLE

Plaintiff offers five reasons why he believes that the Arbitration Agreement is invalid and
unenforceable, but all are primarily based on a single complaint — that he had to sign the
agreement if he wanted to keep his job. However, that complaint will not defeat a motion to
compel arbitration because a “take it or leave it” offer to at-will employees concerning an
arbitration agreement is permitted under Texas law. In re Halliburton Co., 80 S.W.3d 566 (Tex.
2002). Plaintiff's other attacks on the Arbitration Agreement have also been considered and
rejected by Texas and federal courts.” Consequently, Plaintiff's claims should be compelled to

arbitration.

 

* Plaintiff supports his attacks on the Arbitration Agreement with an affidavit describing his belief that he
had to sign the agreement to keep his job. However, even assuming that everything Plaintiff testifies to in his
affidavit is true, Plaintiff has not offered any basis to defeat Defendants’ Motion to Compel as a matter of law.
Therefore, the Court need not, and should not, set the enforceability of the Arbitration Agreement for a trial by jury,
but instead, should decide that issue in summary fashion.

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The Arbitration Agreement is Supported by Adequate Consideration.

Plaintiff first contends that the Arbitration Agreement fails because it was not supported
by any consideration, or its consideration was grossly inadequate. Plaintiff basis this contention
on his position that the Arbitration Agreement provides him little, if any, benefit, and his
complaint that he had to sign it to keep his job. Both of these arguments lack merit.

Plaintiffs argues that the Arbitration Agreement is of no benefit to him because it lacks a
mutuality of obligation. However, the surrender of a legal right constitutes valid consideration in
Texas. In re Alamo Lumber Company, 23 S.W.3d 577 (Tex.App. -- San Antonio, 2000, orig.
proceeding), citing, Northern Natural Gas Co. v. Conoco, Inc., 986 S.W.2d 603 (Tex. 1998).
Under the terms of the Arbitration Agreement, both Plaintiff and Defendants agreed to submit the
vast majority of claims that either might have against the other to binding arbitration. So, both
Plaintiff and Defendants surrendered their right to trial by jury on most, albeit not all, claims.
Nevertheless, the parties’ mutual promises to arbitrate some claims supplies valid consideration.
In re FirstMerit Bank, N.A., 52 S.W.3d 729 (Tex. 2001); In re Alamo Lumber, at 579. The fact
that the Arbitration Agreement does not include all claims of the parties does not change this
result. In re FirstMerit Bank, at 757. It does in fact include all claims at issue in this lawsuit.

Plaintiffs claim that he had to sign the Arbitration Agreement to keep his job, even if
true, is irrelevant. A gross disparity in bargaining power between the parties does not render an
arbitration agreement unenforceable. Jn re Halliburton , 80 S.W.3d at 572. Nor does the fear of
losing one’s job for refusing to sign an arbitration agreement. Id; See also Hathaway v. General

Mills, Inc., 711 S.W.2d 227, 228-29 (Tex. 1986).

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Plaintiff’s Duress Defense Fails.

Plaintiff argues that he “was coerced by both personal and economic duress into making
the agreement” because “ Defendants threatened to fire Plaintiff if he did not sign the
[A]rbitration [A]greement.” Again, a “take it or leave it” offer to at-will employees concerning
an arbitration agreement is permitted under Texas law. In re Halliburton Co., 80 S.W.3d 566,
572 (Tex. 2002). Consequently, Plaintiff has not offered a valid basis for his duress defense as a
mater of law.

The Arbitration Agreement is not Void as Against Public Policy.

Plaintiff argues that the Arbitration Agreement is void as against public policy because it
“stripped Plaintiff of his right to free access to the courts in order to keep his job.” But the
United States and Texas Supreme Courts do not agree.

A series of Supreme Court decisions in the late 1980's endorsed arbitration as an effective
and efficient means of dispute resolution. See Mitsubishi Motors Corp. v. Soler Chrysler-
Plymouth, Inc., 473 U.S. 614 (1985); Shearson/American Express, Inc. v. McMahon, 482 U.S.
220 (1987); Rodriguez de Quijas v. Shearson/American Express, Inc., 490 U.S. 477 (1989).
These decisions led to the Supreme Court’s landmark ruling in Gilmer v. Interstate/Johnson
Land Corporation, 500 U.S. 20 (1991).

In Gilmer, and more recently in Circuit City Stores, Inc. v. Adams, 532 U.S. 105 (2001),
the Supreme Court strongly endorsed arbitration as an effective and appropriate tool for
resolution of an employee’s federal statutory claims. Gilmer, 500 U.S. at 30; Circuit City Stores,
532 U.S. at 122-123. Then in 2002, the Supreme Court reiterated that “[w]e have held that
federal statutory claims may be the subject of arbitration agreements that are enforceable

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pursuant to the FAA because the agreement only determines the choice of forum.” Equal
Employment Opportunity Commission v. Waffle House, Inc., 534 U.S. 279, 294 n. 10 (2002).

Likewise, “Texas law favors settling disputes by arbitration.” EZ Pawn Corp. v.
Mancias, 934 S.W.2d 87, 90 (Tex. 1996); see also Cantella & Co. V. Goodwin, 924 S.W.2d 943,
944 (Tex. 1996). “Indeed, a presumption exists in favor of agreements to arbitrate under the
FAA ... [and Texas] [courts must resolve any doubts about an agreement to arbitrate in favor of
arbitration.” Cantella, 924 §.W.2d at 944. Consequently, an employee can be required to sign
an arbitration agreement in order to keep his job. In re Halliburton, 80 S.W.3d at 572.

The Arbitration Agreement Is Not Unconscionable.

Plaintiff alleges that the Arbitration Agreement is unconscionable because: he did not
have equal bargaining power; “he was not sophisticated or knowledgeable in matters such as
arbitration agreements;” he was under extreme duress — Plaintiff claims that he “was told to sign
the agreement or get fired;” and he didn’t have an opportunity to negotiate the agreement.

First, there is nothing per se unconscionable about arbitration agreements in Texas. Jn re
Oakwood Mobile Homes, Inc., 987 S.W.2d 571, 574 (Tex. 1999); EZ Pawn, 934 S.W.2d at 90.
And Texas law holds that a gross disparity in bargaining power between the parties is not
procedurally unconscionable. Jn re Halliburton , 80 S.W.3d at 572; EZ Pawn 934 S.W.2d at 90-
91. Additionally, Texas courts presume that a party who signs an arbitration agreement knows
and understands its contents. EZ Pawn, 934 S.W.2d at 90; Cantella, 924 S.W.2d at 944.
Furthermore, fear of losing one’s job for refusing to sign an arbitration agreement is not
procedural unconscionability. Halliburton , 80 S.W.3d at 572; Hathaway v. General Mills, Inc.,

711 S.W.2d at 228-29. Finally, presenting an arbitration agreement to an employee on a “take it

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or leave it” basis (i.e., one where there is no opportunity for negotiation), is permitted by Texas
law. Halliburton 80 S.W.3d at 572. Since “an employer has a general right under Texas law to
discharge an employee at-will, it cannot be unconscionable, without more, merely to promise
continued employment on acceptance of new or additional terms.” Id.

The Validity Of The Arbitration Agreement Was Not Dependent On Plaintiff Obtaining
Advice Of Counsel.

Lastly, Plaintiff argues that the Arbitration Agreement is not enforceable “to the extent
that said agreement and/or Plaintiffs discrimination claims involve personal injury claims”
because the Arbitration Agreement is not signed by Plaintiff’s attorney. Although Defendants’
question whether Plaintiff's race and age discrimination claims constitute a claim for “personal
injuries” within the meaning of Chapter 171 of the TEx. Civ. PRAC. & REM. CODE, this Court
need not address this issue. By its terms, the Arbitration Agreement is governed by the Federal
Arbitration Act (the “FAA”). The FAA creates a substantive body of law that is applicable in
state courts. Perry v. Thomas, 482 U.S. 483, 489 (1987); In re Conseco Finance Servicing
Corp., 19 S.W.3d 562, 567 (Tex. App. — Waco 2000, pet. dism’d by agreement). Under the
Supremacy Clause of the United States Constitution, the FAA preempts all otherwise applicable
state laws in applicable cases, including the Texas General Arbitration Act (the “TGAA”).
U.S.C.A. Const. Art. 6, cl. 2; 9 U.S.C.A. §§ 1 - 16; TEX.CIv.PRAC.& REM.CODE § 171.098;
Russ Berrie & Co. v. Gantt, 998 S.W.2d 713 (Tex.App.—El Paso 1999, no pet.); BWI Companies,
Inc. v. Beck, 910 S.W.2d 620 (Tex.App.—Austin 1995, orig. proceeding [leave denied]).
Consequently, so long as it satisfies the FAA, the Arbitration Agreement need not comply with

any provision of the TGAA to be valid and enforceable. And here, the Arbitration Agreement

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does satisfy the FAA.

DEFENDANTS’ MOTION TO COMPEL ARBITRATION SHOULD BE GRANTED

As shown above, Plaintiff has not offered any valid defenses to enforcement of his

Arbitration Agreement. And since Plaintiff's attacks on the Arbitration Agreement fail as a matter

of law, this Court can and should summarily grant Defendants’ Motion to Compel Arbitration, and

compel all of Plaintiffs claims to arbitration. Accordingly, Defendants, AutoNation, Inc., Bankston

Auto, Inc. and W.O. Bankston Nissan, Inc. d/b/a Bankston Nissan Dallas respectfully request that

the Court enter an Order compelling arbitration and staying this litigation pending arbitration of

Plaintiff's claims. Defendants also pray for such other and further relief to which they are justly

entitled.

Respectfully submitted,

    
 

GIBSON eC »W CE, & BANIELS, L.L.P.

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CERTIFICATE OF SERVICE
[hereby certify that a true and correct copy of the above and foregoing instrument has been
forwarded via certified mail, return receipt requested, to counsel for Plaintiff, William Randell

¢
Johnson, 1400 Preston Road, Suite 340, Plano, Texas 75093, on theZ/ day of April, 2005.

Brya#’D*/ Perkins

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